Case 2:02-cr-20165-BBD Document 492 Filed 04/18/05 Page 1 of 3 Page|D 591

 

F\u~:: . v
IN THE UNITED sTATEs DISTRICT CoURT §/
FOR THE WESTERN DISTRICT OF TENNESSEE 05 M)R \3 AH at 0
WESTERN DIVIsIoN
) aanaT 1513 05 hch
UNITED sTA'rEs oF AMERICA, § §§ng T-N; M;N;PH,S
Plainriff, )
)
v. ) Case No. 02-20165-D/P
l
ALVIN IRWIN MOSS, et al., )
)
Defendants. )
)

 

ORDER

 

On April 15, 2005, a status conference was held wherein defense counsel requested that a
hearing be conducted on a pending motion to compel. The Court scheduled a hearing on May
18, 2005.

Defense counsel asserted that the motion to compel was filed in March 2003. A review of
the docket indicates that the only motion to compel filed in March 2003, docket entry 220, was filed
by Richard Titterington. Defendant Titterington is deceased, and as such, is no longer a party to this
case. Accordingly, if the remaining Defendants intend for the Court to rule on the motion to compe],
Defendants have ten days from the entry of this order in which to file a new motion to compel as to
the issues raised in the March 14, 2003 motion to compel.

IT IS SO ORDERED this f j % day oprril, 2005.

" ___-;Q-:~? , .
_. “ ' /
@QMM<(ZJQ:¢ /:QW¢Z//

BF!RNICE BoUIE DoNALD
UNITED sTATEs I)ISTRICT JUDGE

te le ed 011 e docket 3 eet\ 00 p
l .S ‘i( (\i e l f \

with acre 55 andf -

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 492 in
case 2:02-CR-20165 was distributed by f`aX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Robert G. Chadwell

MCKAY CHADWELL PLLC
600 University St.

Ste. l 60 l

Seattle, WA 98101

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & l\/HTCHELL
40 S. l\/lain St.

Ste. 2900

l\/lemphis7 TN 38103--552

David W. Kenna

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

New York7 NY 10004--148

Stephen Ross Johnson

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--1 12

David E. Wilson

MCKAY CHADWELL, PLLC
600 University

Ste l 60 l

Seattle, WA 98101

Case 2:02-cr-20165-BBD Document 492 Filed 04/18/05 Page 3 of 3 Page|D 593

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

l\/lemphis7 TN 38119

Wade V. Davies

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Glenn Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Michael R. Koblenz

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

New York7 NY 10004--148

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Michael B. Neal

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

Honorable Bernice Donald
US DISTRICT COURT

